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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 STEPHEN F. CASS,

                    Plaintiff,

                       vs.                                   C.A. NO 1:17-cv-11441

 TOWN OF WAYLAND and WAYLAND
 PUBLIC SCHOOLS,

                  Defendants.

                                  JOINT STATUS REPORT

       The parties, through their undersigned attorneys, hereby represent that they continue to
work diligently and cooperatively toward full case resolution. The undersigned intends to
provide another update to this Court relating to this effort on or before December 13, 2019.

                                                  Respectfully submitted,


 Plaintiff,                                       Defendants,
 STEPHEN F. CASS,                                 TOWN OF WAYLAND and WAYLAND PUBLIC
 By his Attorneys,                                SCHOOLS,
                                                  By their Attorneys,



 /s/ Todd D. White                                /s/ Adam Simms
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Dated: November 15, 2019
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 15th day of November, 2019, I filed the within through the
ECF system and that notice will be sent electronically to the below listed counsel who are
registered participants identified on the mailing information for Case No. 17-11441.

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                                                     /s/ Todd D. White




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